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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
CARL ROBINSON,                             :      Civil No. 1:20-CV-1171
                                           :
             Plaintiff,                    :
                                           :
             v.                            :
                                           :
SUPERINTENDENT THERESA                     :
DELBALSO, et al.,                          :
                                           :
             Defendants.                   :      Judge Jennifer P. Wilson

                                       ORDER

      AND NOW, this 18th day of September, 2020, for the reasons set forth in

the accompanying memorandum, IT IS ORDERED THAT Plaintiff’s first,

second, and third amended complaints, Docs. 15, 18 and 20, are STRICKEN from

the docket without prejudice to Plaintiff initiating a new action or actions as to the

claims asserted.


                                               s/Jennifer P. Wilson
                                               JENNIFER P. WILSON
                                               United States District Court Judge
                                               Middle District of Pennsylvania
